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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     JOSE ANGEL BUSTAMANTE
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )     No. 05-0384 WBS
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   JOSE ANGEL BUSTAMANTE, et al.   )
                    Defendant.       )
15                                   )     Date: January 22, 2007
     _______________________________ )     Time: 8:30 a.m.
16                                   )     Judge: Hon. Shubb
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney MARY GRAD, Counsel for Plaintiff, and Attorney Dina L. Santos,
20   Counsel for Defendant JOSE ANGEL BUSTAMANTE, attorney VICTOR HALTOM,
21   counsel for SANTOS BUSTAMANTE, and attorney RUSSELL HUMPHREY, counsel
22   for SANTOS FELIX, that the status conference scheduled for December 6,
23   2006, be vacated and the matter be continued to this Court's criminal
24   calendar on January 22, 2007 at 8:30 a.m, for status and possible
25   change of plea.
26        This continuance is requested by the defense in order to permit
27   further client consultation, consultation with the government
28   concerning a number of factual and legal issues and the possibility of
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1    reaching a negotiated settlement.       Counsel has been in the process of
2    having the drugs seized in this case re-tested.         The re-testing has
3    been completed; however new calculations and negotiations to finalize a
4    plea agreement are on-going.      All counsel therefore seek additional
5    necessary preparation time.
6
7          IT IS FURTHER STIPULATED that time for trial under the Speedy
8    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
9    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
10   ends of justice served in granting the continuance and allowing the
11   defendant further time to prepare outweigh the best interests of the
12   public and the defendant in a speedy trial.
13         The Court is advised that all counsel have conferred about this
14   request, that they have agreed to the January 22, 2007, date, and that
15   Ms. Grad has authorized Ms. Santos to sign this stipulation on her
16   behalf.
17         IT IS SO STIPULATED.
18
19   Dated: December 5, 2006                  /S/ Dina L. Santos
                                             DINA L. SANTOS
20                                           Attorney for Defendant
                                             JOSE ANGEL BUSTAMANTE
21
     Dated: December 6, 2006                  /S/ Victor Haltom
22                                           VICTOR HALTOM
                                             Attorney for Defendant
23                                           SANTOS BUSTAMANTE
24   Dated: December 6, 2006                  /S/ Russell Humphrey
                                             RUSSELL HUMPHREY
25                                           Attorney for Defendant
                                             SANTOS FELIX
26
     Dated: December 5, 2006                  /S/ Mary Grad
27                                           MARY GRAD
                                             Assistant United States Attorney
28                                           Attorney for Plaintiff


     Stipulation and Order                   2
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                                        O R D E R
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           IT IS SO ORDERED.
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                       By the Court,
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     Dated: December 5, 2006
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     Stipulation and Order                   3
